Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 1 of 6




        EXHIBIT A-19
Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 2 of 6
Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 3 of 6
Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 4 of 6
Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 5 of 6
Case 1:23-cv-01599-ABJ Document 13-4 Filed 06/06/23 Page 6 of 6
